

Per Curiam.

Motion by respondent (1) for leave to renew and reargue a decision of this court, dated March 18, 1980, and an order of this court entered fherein, dated April 1, 1980, which granted the motion of counsel to the court to confirm the report of Referee Raymond C. Baratta finding respondent guilty of certain charges of judicial misconduct and denied the cross motion of respondent to disaffirm that report in part, and imposed the sanction of removal from office; (2) to direct a hearing with respect to a meeting held February 12, 1974 between the Justices of the Appellate Division, Third Department, and certain Town and Village Justices from Sullivan County including respondent; and (3) to direct censure or suspension of the respondent as an appropriate sanction, but not removal from office.
Insofar as it seeks to renew and reargue the question of an appropriate sanction, the motion is granted and thereupon the original determination is adhered to. In all other respects motion denied.
*1079Dated: May 5, 1980
Harold Birns (Signed) Harold Birns
Presiding Officer, Court on the Judiciary
Hyman W. Gamso (Signed) Clerk of the Court on the Judiciary
